    Case 6:23-cv-00321-ADA            Document 66-4   Filed 03/18/24     Page 1 of 4




EXHIBIT D TO Q4 QUARTERLY REPORT – EXCERPTS OF HILL INVENTORY

     Item                                             Hill Statement as to Value

     Ceta Solve, gas and oil                          To be determined

     Fairfield Plant                                  To be determined

     Streetman Plant                                  To be determined

     6 Patents                                        To be determined

     Pipe inventory                                   To be determined

     Coal inventory - Fairfield and Streetman         To be determined

     Liquids inventory                                To be determined



     Components of Fairfield Plant:

            Coal Barn                                 $130,000

            Old Portable Control Room                 $15,000

            Shop complex                              $75,000

            New Lab Building                          $450,000

            Old Lab Building                          $75,000

            New visitor center                        $50,000

            Nitrogen generator building               $100,000

            Electronic building                       $250,000

            Panel building and shed                   $200,000

            Control center building                   $125,000

            Non-equipped buildings                    $1,470,000

            Fairfield Plant warehouse building        $95,000
Case 6:23-cv-00321-ADA         Document 66-4   Filed 03/18/24   Page 2 of 4




Components of Streetman Plaint:

      Warehouse & cool storage                 $100,000

      New Control room & Electronics Rooms     $295,000



Other Items

      Gough conveyor systems                   $625,000

      Nitrogen generators                      $600,000

      Tank and storage facilities              $150,000

      Watlow panels                            $2,800,000

      Crushers                                 $165,000

      Trailers and portable welding rigs       $ 24,000

      Original filtration systems etc.         $275,000

      Cooling towers                           $28,500

      Hydrogen & gas separation systems        $525,000

      Laboratory Equipment                     $2,800,000

      Electronics and control systems          $585,000

      Wire and wiring                          $485,000

      Bray electronic valves                   $182,000

      Accessible systems                       $12,000

      R&S services                             $248,500

      Valves, couplings, unions, etc.          $100,000

      Fuel and misc equipment                  $71,000

      Servers and Wifi at plants               $ 78,680
    Case 6:23-cv-00321-ADA      Document 66-4   Filed 03/18/24   Page 3 of 4




          Monitors, computers, printers, etc.   $48,000

          In ground wiring and wiring in        $500,000

                 inventory w/ manpower

                 and conduit

          Heating elements, thermal couples     $1,056,000

`                and pass through

          Various other electrical              $1,422,000

                 components and

                 Installation

          Buy backs on equipment which          $6,300,000

                 increased ownership

                 interest

          Scado Systems                         $85,000

          Electrical rooms & breaker            $550,000

                 systems

          High heat & cold insulation           $315,000

                 materials

          Equipment for concrete slabs          $225,000

                 not included with

                 Buildings

          Heat exchanger/condensers             $760,000

          Primary pots 5 flanges                $210,000

          Secondary pots & valves and pipe      $30,000
Case 6:23-cv-00321-ADA         Document 66-4   Filed 03/18/24    Page 4 of 4




      Hoppers                                  $1,470,000

      Coalite Coolers Systems                  $936,000

      14 desks, 23 chairs, 2 custom            $25,000

             chairs, 4 couches,

             end tables, art

             work, lamps, credenzas,

             lamps, etc.

      Fin fans                                 $600,000

      Notes receivable                         To be determined (approximately
                                               $60,000 face value of original notes
                                               as of May 2023

      Air and storm water permitting           $795,000

      Cash in Ceta safe                        $100,000



      Total estimated value (by Hill)          $75,407,180
